           Case 1:19-cr-00148-CKK Document 253 Filed 03/24/23 Page 1 of 4




 1   Kenner Law Firm
     David Kenner, SBN 41425
 2 16633 VENTURA BLVD., STE. 735
     ENCINO, CA 91436
 3 PHONE: (818) 995-1195
   FAX: (818) 475-5369
 4 EMAIL: DAVID@KENNERLAW.COM

 5 ATTORNEY FOR DEFENDANT
     PRAKAZREL MICHEL
 6

 7                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA
 8
     THE UNITED STATES OF AMERICA,                     CASE NO. 19-148-1(CKK)
 9
                                                       DEFENDANT MICHEL’S PROPOSED
10                                                     UPDATED SUPPLEMENTAL
                                                       WITNESS LIST
11
     VS.
12

13

14
     PRAKAZREL MICHEL, ET AL.,
15
     DEFENDANTS.
16                                                     The Honorable Colleen Kollar-Kotelly
17
18          COMES NOW DEFENDANT PRAKAZREL MICHEL, by and through counsel of record,

19 and hereby lodges with the Honorable Court his proposed updated supplemental witness list. Mr.

20 Michel respectfully reserves the right to update this witness list as circumstances dictate and allow.

21

22
     ///
23
     ///
24

25 ///

26

27

28
                                               -1-
                       DEFENDANT MICHEL’S PROPOSED SUPPLEMENTAL WITNESS LIST
        Case 1:19-cr-00148-CKK Document 253 Filed 03/24/23 Page 2 of 4




 1 DATED: March 24, 2023                      Respectfully submitted,

 2
                                              /s/ David Kenner
 3                                            David E. Kenner
 4                                            Kenner Law Firm
                                              16633 Ventura Blvd., Suite 735
 5                                            Encino, CA 91436
                                              (818) 995-1195
 6                                            Email: david@kennerlaw.com
                                              CA Bar No.: 41425
 7
                                              Counsel for Defendant
 8

 9
                                              /s/ Charles Haskell
10                                            Charles R. Haskell
                                              The Law Offices of Charles R. Haskell
11
                                              641 Indiana Ave. NW
12                                            Washington, DC 20004
                                              (202) 888-2728
13                                            Email: Charles@CharlesHaskell.com
                                              DC Bar No.: 888304007
14                                            Retained Counsel for the Defendant
15

16

17
18

19

20

21

22

23

24

25

26

27

28
                                          -2-
                  DEFENDANT MICHEL’S PROPOSED SUPPLEMENTAL WITNESS LIST
          Case 1:19-cr-00148-CKK Document 253 Filed 03/24/23 Page 3 of 4




 1                         UPDATED SUPPLEMENTAL WITNESS LIST
 2          The Defense’s investigation of this case and preparation for trial continues, and Defendant
 3
     reserves the right to add witnesses should it become necessary.
 4
            The updated current witnesses are:
 5
        42. Kathryn Lestelle, Investigator
 6

 7      43. Thomas Reynolds, CNB

 8      44. Mike Hartstock, FEC

 9      45. Heather Hunt, FARA
10

11
            The Defense is prepared to make an offer of proof as to any of the listed witnesses if the
12
     Court so requests and at a time convenient to the Court.
13

14
     DATED: March 24, 2023                        Respectfully submitted,
15

16                                                       /s/ David Kenner
                                                         David E. Kenner
17                                                       Kenner Law Firm
                                                         16633 Ventura Blvd., Suite 735
18
                                                         Encino, CA 91436
19                                                       (818) 995-1195
                                                         Email: david@kennerlaw.com
20                                                       CA Bar No.: 41425
                                                         Counsel for Defendant
21

22

23                                                       /s/ Charles Haskell
                                                         Charles R. Haskell
24                                                       The Law Offices of Charles R. Haskell
                                                         641 Indiana Ave. NW
25                                                       Washington, DC 20004
26                                                       (202) 888-2728
                                                         Email: Charles@CharlesHaskell.com
27                                                       DC Bar No.: 888304007
                                                         Retained Counsel for the Defendant
28
                                               -3-
                       DEFENDANT MICHEL’S PROPOSED SUPPLEMENTAL WITNESS LIST
         Case 1:19-cr-00148-CKK Document 253 Filed 03/24/23 Page 4 of 4




 1                                  CERTIFICATE OF SERVICE
 2         I declare under penalty of perjury that the foregoing is true and correct this 24th day of

 3 March, 2023, at Washington D.C., and that this document is executed under penalty of perjury

 4 according to the laws of the United States of America.

 5
                                                          ____________________
 6                                                        Charles R. Haskell
                                                          Attorney at Law
 7

 8

 9

10

11

12

13

14

15

16

17
18

19

20

21

22

23

24

25

26

27

28
                                              -4-
                      DEFENDANT MICHEL’S PROPOSED SUPPLEMENTAL WITNESS LIST
